                 UNITED STATES COURT OF INTERNATIONAL TRADE

Before: The Honorable Gary S. Katzmann, Judge

 THE ANCIENTREE CABINET CO., LTD.                 )
                                                  )
                                                  )
                 Plaintiff,                           Court No. 20-00114
                                                  )
            v.
                                                  )
 UNITED STATES,                                   )
                                                  )
                         Defendant.               )
                                                  )


                              PLAINTIFF’S POST-ARGUMENT SUBMISSION

       Pursuant to the Court’s instructions, Plaintiff Ancientree hereby submits the following

post-argument comments. See ECF 47.

       Financials: Commerce frequently makes its surrogate country determination based on the

relative quality and number of financial statements among competing surrogate countries. Any

fair reading of the record must determine that Malaysia offers superior financial statements. The

comparability of the production process of the surrogate financial company is Commerce’s

primary concern in selecting financial statements. This stems from the obvious fact that

Commerce is using the company’s statement as a surrogate cost for overhead, SG&A, and profit

of a cabinet producer. The comparability of the overhead costs, equipment purchased, raw

materials purchased, level of integration, etc. is the most critical component of calculating ratios

that are most representative. See Ancientree R56.2 at 16; see also Yantai Xinke Steel Structure

Co. v. United States, 2014 Ct. Intl. Trade LEXIS 39, *56-57 (Ct. Int’l Trade 2014) (Discussing

surrogate financial ratios and finding “[p]roduction processes and the physical characteristics of

the compared products are therefore the more important factors.”).




                                                  1
       Malaysia provides three financial statements from companies that produce wooden

furniture, two of the companies even produce various types of cabinets. Defendant argues that

the Malaysian companies do not produce identical merchandise because they produce stand-

alone cabinets rather than cabinets for permanent installation that are subject to this order. This

argument misses the fact that on the other side, i.e. in Romania, the single Romanian financial

statement does not produce cabinets at all, of any nature. Sigstrat produces molded furniture and

plywood. Molded products are not the same production process as cabinets or other types of

wooden furniture. Plywood, as explained in the briefing and at Court, is a step removed

upstream and is not a comparable product to cabinets.

       Defendant-Intervenor suggested at oral argument that the Malaysian companies are

engaged in some degree of dissimilar production. However, the record does not support this

insinuation. Each of these companies describes its primary or sole business as the manufacture

and sale of furniture. See Ancientree R56.2 at 14-16. The webpage materials from each

company establish that all, or the overwhelmingly majority, of the furniture products produced

are wooden furniture products. Lii Henn and Poh Huat’s financial statements even list the main

raw materials consumed by the companies, which further confirm how highly comparable these

companies are to Ancientree. Lii Hen’s “main raw materials used in the manufacturing of the

furniture products are mainly wood that comprise of solid wood, particleboard, veneers, MDF,

plywood, pine wood and oak wood” and other finishing/packing materials. Id. at 15. Poh Huat

lists its main raw materials as “solid wood, MDF, particleboards, veneers, metal components,

finishing materials and carton boxes” as its key materials. Id. at 15.

       The record contains three financial statements from Malaysian companies primarily

engaged in the production of comparable wooden furniture. The record contains only one




                                                 2
financial statement from a Romanian company primarily engaged in dissimilar production. The

country that sources the best available information for the financial ratios is Malaysia.

       Sawnwood Commercial Quantity: Defendant and Defendant-Intervenor wrongly claim

that Ancientree provided no precedent for its argument that Commerce must support its

conclusion that the quantity of imports was commercially significant. Ancientree provided

precedent in its briefing, and specifically highlighted Jacobi in its answers to the Court’s

questions on this issue. As explained, Jacobi is a relatively recent case (2018) discussing a

significant amount of other caselaw on this issue. While it is true that in some cases discussed

the inquiry into commercial significance was followed with a discussion of aberrancy, that is not

true of all cases. The Court in Jacobi specifically rejected the argument that the carbonized

material import value into Thailand was aberrant; instead remanding to Commerce to specifically

address whether the import quantity was commercially significant. The Court specifically

addressed this as a separate inquiry independent from aberrancy—i.e., the carbonized material

import value could be not aberrant but still an unreliable surrogate value because it was not based

on a commercial quantity. Even some of the cases raised by Defendant separately addressed the

commercial quantity issue without being coupled with a discussion of aberrancy. See e.g.

Sichuan Changhong 460 F. Supp. 2d at 1348 (“In order to rely on the Infodriveindia statistics,

on remand, Commerce must point to record evidence supporting its conclusion that the quantities

shown in the Infodriveindia data represent commercial quantities, and explain why its conclusion

is valid.”). Commerce cannot avoid the necessary inquiry into whether the Romanian imports of

sawnwood are a commercial quantity. And Commerce must support its decision with substantial

evidence, “including whatever fairly detracts” from its decision or the “evidence opposed to [its]




                                                 3
view.” Commerce cannot simply dismiss the metrics of commercial significance argued by

Ancientree.

       Further, not only should the Court direct Commerce to justify that it relied upon a

surrogate value based upon a commercial quantity, but the Court should also order Commerce to

reconsider whether it relied upon the best available information to value sawnwood in light of

both the commercial quantity inquiry and the specificity of the Malaysian tariff schedule. At the

very minimum, Commerce must consider that the Romanian import volumes are less commercial

than Malaysia and the Romanian imports are less specific to the input than Malaysia; not better

or best. Afterall, the goal of selecting a surrogate value is to rely upon a value that most closely

approximates the price a cabinet manufacturer would pay if producing in a market economy—

that inquiry includes the specificity to the input and the commercial nature of the price.

       Sawnwood Specificity & Other Inputs: Defendant and Defendant-Intervenor also

maintain that it was inappropriate for Ancientree to further describe its sawnwood inputs, or

other inputs, in its surrogate value submissions. Defendant-Intervenor wrongly claims such an

approach is out of the normal order of questionnaires and surrogate value deadlines. Rather, it is

most common in antidumping proceedings that further details concerning the nature of inputs is

discussed in surrogate value submissions or potentially later supplemental questionnaires. For

example, in several reviews of Crystalline Silicon Photovoltaic Cells from China, Commerce has

issued supplemental questionnaires on the nature of inputs when it was uncertain whether the

HTS recommended by the respondent was correct. See Attachment. Commerce’s lack of

curiosity with respect to Ancientree’s assertions reasonably infers the descriptions were

accepted; but would also justify remand to elicit any needed clarification.




                                                  4
       Ancientree initially described in its Section D questionnaire that it purchased birch

sawnwood and poplar sawnwood. Then, in evaluating the potential applicable HTS, Ancientree

further elaborated that the most specific HTS to its sawnwood input are the HTS covering

sawnwood that is not planed or endjointed. This classification is also supported by Ancientree’s

production process which shows that Ancientree cut the sawnwood, and drilled, milled, and

slotted the wood. Commerce also observed this at verification, fully aware from Ancientree’s

surrogate value submissions and preliminary comments that Ancientree maintained its

sawnwood was not planed or endjointed. Commerce asked no further questions of Ancientree

concerning this input and nothing on the record suggests that Ancientree purchased wood that

was planed or endjointed. The Court should find Commerce was obligated to find Ancientree’s

sawnwood inputs were properly classified under the more specific Malaysian HTS. Likewise,

for particleboard, paint, and MDF, Ancientree not only certified the accuracy of the more

specific nature of these inputs in the surrogate value submissions, but the production process and

other record documentation raised in the briefing support the classifications suggested by

Ancientree.



                                              /s/ Gregory S. Menegaz
                                             Gregory S. Menegaz
                                             J. Kevin Horgan
                                             Alexandra H. Salzman*
                                             DEKIEFFER & HORGAN, PLLC
                                             Suite 410
                                             1090 Vermont Ave., N.W. 20005
                                             Tel: (202) 783-6900
                                             Fax: (202) 783-6909
                                             email: gmenegaz@dhlaw.com
Date: April 19, 2021                         Counsel to Plaintiff

                                             *Admitted to California Bar; practice supervised by
                                             attorneys of the firm who are active D.C. Bar members
                                             pursuant to D.C. Bar Rule 49(c)(8).


                                                5
                        Word Count Certificate of Compliance

        This brief has been prepared utilizing Microsoft Word 2007 using a proportionally

spaced typeface (12 point Times New Roman font).

        In accordance with this Court’s Order, the undersigned certifies that this response

complies with the word limitations. Specifically, excluding those exempted portions of the

comment, as set forth in 2 B (1) of the Chambers Procedures, I hereby certify that this comment

contains 1,246 words. In accordance with the Chambers Procedures, this certified word count

is based on the word count feature in the word processing system (Microsoft Word) used to

prepare this brief.


                                         /s/ Gregory S. Menegaz

                                         Gregory S. Menegaz
                                         DEKIEFFER & HORGAN, PLLC
                                         Suite 410
                                         1090 Vermont Ave., N.W. 20005
                                         Tel: (202) 783-6900
                                         Fax: (202) 783-6909
                                         email: gmenegaz@dhlaw.com
                                         Counsel to Plaintiff




                                            6
ATTACHMENT
               Barcode:4060923-01 A-570-979 REV - Admin Review 12/1/18 - 11/30/19



                                                                                      A-570-979
                                                                          Administrative Review
                                                                         12/01/2018 - 11/30/2019
                                                                               Public Document
                                                                        ITA/E&C/Office IV: EB

December 2, 2020

Risen Energy Co. Ltd. (Risen Energy)
c/o Gregory S. Menegaz
deKieffer & Horgan, PLLC
1090 Vermont Avenue, NW, Suite 410
Washington, DC 20005

Dear Mr. Menegaz:

This letter concerns the antidumping duty (AD) administrative review of crystalline silicon
photovoltaic solar cells from the People’s Republic of China (China), covering the period
December 1, 2018 through November 30, 2019, and your client, Risen Energy Co. Ltd. (Risen
Energy) and its affiliates (collectively Risen). The Department of Commerce (Commerce) has
reviewed Risen Energy’s responses to Commerce’s supplemental questionnaire and has
identified certain areas that require additional information. See Attachment. The additional
information requested in the attachment to this letter is due by the close of business on
December 9, 2020.

Commerce must conduct this administrative review in accordance with statutory and regulatory
deadlines. If you are unable to respond completely to every question in the attached
supplemental questionnaire by the established deadline or are unable to provide all requested
supporting documentation by the same date, you must notify the official in charge and submit a
request for an extension of the deadline for all or part of the supplemental questionnaire
response. If you require an extension for only part of your response, such a request should be
submitted separately from the portion of your response filed under the current deadline.
Statements included within a supplemental questionnaire response regarding a respondent’s
ongoing efforts to collect part of the requested information and promises to supply such missing
information when available in the future, do not substitute for a written extension request.
Section 351.302(c) of Commerce’s regulations requires that all extension requests be in writing
and state the reasons for the request. Any factual statements made in support of such reasons
must be accompanied by the certifications required under section 351.303(g) of the regulations.
An extension request submitted without a proper certification for any factual information
contained therein will be considered improperly filed and, as with any other improperly filed
document, will not be accepted. Any extension granted in response to your request will be in
writing; otherwise the original deadline will apply.

If Commerce does not receive either the requested information or a written extension request
before 5 p.m. ET on the established deadline, we may conclude that your company has decided
not to cooperate in this proceeding. Pursuant to 19 CFR 351.302(d), any information submitted



      Filed By: Elizabeth Bremer, Filed Date: 12/3/20 10:13 AM, Submission Status: Approved
               Barcode:4060923-01 A-570-979 REV - Admin Review 12/1/18 - 11/30/19



after this date will be untimely filed and may be rejected and removed from the record. In such
case, we may rely on facts available, including adverse inferences, as required by section
776(a)(2)(B) of the Tariff Act of 1930, as amended (the Act), in making our determination.
Furthermore, upon receipt of a response that is incomplete or deficient to the extent Commerce
determines it to be non-responsive, Commerce may not issue additional supplemental
questionnaires but may use facts available.

The information you submit may be subject to verification. Failure to allow verification of any
item may affect the consideration that we will accord to that item or to any other material,
whether or not we verify the latter. In all cases where we have requested a re-submission of data,
you should ensure that we receive information in the same format that was requested in the
original questionnaire.

If you have any questions on this matter, please contact Elizabeth Bremer at (202) 482-4987 or
by e-mail at Elizabeth.Bremer@Trade.Gov.




Enclosure




      Filed By: Elizabeth Bremer, Filed Date: 12/3/20 10:13 AM, Submission Status: Approved
                Barcode:4060923-01 A-570-979 REV - Admin Review 12/1/18 - 11/30/19



                          December 2, 2020 Supplemental Questionnaire

                              Risen Energy Co. Ltd. (Risen Energy)

Please ensure that all documents submitted to the Department of Commerce (Commerce) are
translated fully into English and ensure their legibility. Risen Energy should repeat the question
in full to which it is responding in its narrative submission and place its answer directly below it.
Risen Energy should also fully answer each question in this supplemental questionnaire. Please
ensure that Risen Energy provides a cover sheet for each exhibit it submits that clearly states the
complete exhibit number and title.

Identifying Inputs

   1. Diluent
          a. Does your diluent contain more than 25 percent by weight of one or more
              aromatic or modified aromatic substance?
   2. Dye
          a. Does your plastic dye contain 80 percent or more by weight of titanium dioxide
              calculated on the dry matter?
   3. Kraft Paper
          a. Is your kraft paper condenser paper or wrapping paper?
   4. Tin Ribbon
          a. Is the thickness of the tin ribbon 5 mm or more?
   5. Gas
          a. Regarding Exhibit D-2 FOB database of Cell and Exhibit D-2 FOP database of
              Module, for all inputs for gas, please describe each input and specify the type and
              form of the gas as purchased.
   6. Regarding Exhibit D-2 FOB database of Cell and Exhibit D-2 FOP database of Module,
      please provide the full name and descriptions of the following inputs:
          a. A_RWALUM
          b. R_TDROSS
          c. R_RTDROSS
          d. CB_TDROSS
          e. R_RTWASTE
          f. R_RCWASTE




      Filed By: Elizabeth Bremer, Filed Date: 12/3/20 10:13 AM, Submission Status: Approved
               Barcode:4086915-01 A-570-979 REV - Admin Review 12/1/18 - 11/30/19



                                                                                      A-570-979
                                                                          Administrative Review
                                                                         12/01/2018 - 11/30/2019
                                                                               Public Document
                                                                        ITA/E&C/Office IV: EB

February 5, 2021

Risen Energy Co. Ltd. (Risen Energy)
c/o Gregory S. Menegaz
deKieffer & Horgan, PLLC
1090 Vermont Avenue, NW, Suite 410
Washington, DC 20005

Dear Mr. Menegaz:

This letter concerns the antidumping duty (AD) administrative review of crystalline silicon
photovoltaic solar cells from the People’s Republic of China (China), covering the period
December 1, 2018 through November 30, 2019, and your client, Risen Energy Co. Ltd. (Risen
Energy) and its affiliates (collectively Risen). The Department of Commerce (Commerce) has
reviewed Risen Energy’s responses to Commerce’s supplemental questionnaire and has
identified certain areas that require additional information. See Attachment. The additional
information requested in the attachment to this letter is due by the close of business on February
12, 2021.

Commerce must conduct this administrative review in accordance with statutory and regulatory
deadlines. If you are unable to respond completely to every question in the attached
supplemental questionnaire by the established deadline or are unable to provide all requested
supporting documentation by the same date, you must notify the official in charge and submit a
request for an extension of the deadline for all or part of the supplemental questionnaire
response. If you require an extension for only part of your response, such a request should be
submitted separately from the portion of your response filed under the current deadline.
Statements included within a supplemental questionnaire response regarding a respondent’s
ongoing efforts to collect part of the requested information and promises to supply such missing
information when available in the future, do not substitute for a written extension request.
Section 351.302(c) of Commerce’s regulations requires that all extension requests be in writing
and state the reasons for the request. Any factual statements made in support of such reasons
must be accompanied by the certifications required under section 351.303(g) of the regulations.
An extension request submitted without a proper certification for any factual information
contained therein will be considered improperly filed and, as with any other improperly filed
document, will not be accepted. Any extension granted in response to your request will be in
writing; otherwise the original deadline will apply.

If Commerce does not receive either the requested information or a written extension request
before 5 p.m. ET on the established deadline, we may conclude that your company has decided
not to cooperate in this proceeding. Pursuant to 19 CFR 351.302(d), any information submitted



      Filed By: Elizabeth Bremer, Filed Date: 2/10/21 5:29 PM, Submission Status: Approved
               Barcode:4086915-01 A-570-979 REV - Admin Review 12/1/18 - 11/30/19



after this date will be untimely filed and may be rejected and removed from the record. In such
case, we may rely on facts available, including adverse inferences, as required by section
776(a)(2)(B) of the Tariff Act of 1930, as amended (the Act), in making our determination.
Furthermore, upon receipt of a response that is incomplete or deficient to the extent Commerce
determines it to be non-responsive, Commerce may not issue additional supplemental
questionnaires but may use facts available.

The information you submit may be subject to verification. Failure to allow verification of any
item may affect the consideration that we will accord to that item or to any other material,
whether or not we verify the latter. In all cases where we have requested a re-submission of data,
you should ensure that we receive information in the same format that was requested in the
original questionnaire.

If you have any questions on this matter, please contact Elizabeth Bremer at (202) 482-4987 or
by e-mail at Elizabeth.Bremer@Trade.Gov.




Enclosure




                                                2
      Filed By: Elizabeth Bremer, Filed Date: 2/10/21 5:29 PM, Submission Status: Approved
                Barcode:4086915-01 A-570-979 REV - Admin Review 12/1/18 - 11/30/19



                           Surrogate Value Supplemental Questionnaire

                              Risen Energy Co. Ltd. (Risen Energy)

Please ensure that all documents submitted to the Department of Commerce (Commerce) are
translated fully into English and ensure their legibility. Risen Energy should repeat the question
in full to which it is responding in its narrative submission and place its answer directly below it.
Risen Energy should also fully answer each question in this supplemental questionnaire. Please
ensure that Risen Energy provides a cover sheet for each exhibit it submits that clearly states the
complete exhibit number and title.

Identifying Inputs

   1. Aluminum Paste
         a. Is your aluminum paste an article of precious metal or an article clad with
             precious metals?
   2. Ethyl Alcohol
         a. Is your ethyl alcohol a denatured ethyl alcohol, including methylated spirits?
         b. Is it denatured to the satisfaction of the Director General of Customs?
   3. Glycol
         a. Is your glycol a polytetramethylene ether glycol?
   4. Mixed Fluid
         a. Does your mixed fluid include methylated spirits?
   5. Polyester Ribbon
         a. Is your polyester ribbon made of yarn, articles of yarn, strip or the like of heading
             54.04 or 54.05, twine, cordage, rope or cables, not elsewhere specified or
             included?
         b. Is your polyester ribbon made of narrow woven fabric of manmade fibers?
         c. Is your polyester ribbon made of plastics?
         d. Is your polyester ribbon cellular or noncellular?
         e. Is your polyester ribbon rigid?
         f. What is the thickness of your polyester ribbon?
   6. Round Copper Wire for Electrical Purpose
         a. Is your round copper wire for electrical purpose made of wire of copper-nickel
             base alloys (cupro-nickel) or copper-nickel-zinc base alloys (nickel-silver)?
   7. Tin Bar
         a. Is your tin bar a soldering bar?
   8. Xylene
         a. Is your xylene a xylol (xylene) or a mixed xylene isomer?
         b. Please explain the difference and why your xylene fits the criteria of one.
         c. Please provide supporting documentation



                                                  3
       Filed By: Elizabeth Bremer, Filed Date: 2/10/21 5:29 PM, Submission Status: Approved
               Barcode:3926823-01 A-570-979 REV - Admin Review 12/1/17 - 11/30/18




                                                                                     A-570-979
                                                                         Administrative Review
                                                                        12/01/2017 - 11/30/2018
                                                                              Public Document
                                                                       ITA/E&C/Office IV: JDP

January 3, 2019

Risen Energy Co. Ltd. (Risen Energy)
c/o Gregory S. Menegaz
deKieffer & Horgan, PLLC
1090 Vermont Avenue, NW, Suite 410
Washington, DC 20005

Dear Mr. Menegaz:

This letter concerns the antidumping duty (AD) administrative review of crystalline silicon
photovoltaic solar cells from the People’s Republic of China (China), covering the period
December 1, 2017 through November 30, 2018, and your client, Risen. The Department of
Commerce (Commerce) has reviewed Risen Energy’s responses to Commerce’s AD
questionnaires and has identified certain areas that require additional information. See
Attachment. The additional information requested in the attachment to this letter is due by the
close of business on January 10, 2019.

Commerce must conduct this administrative review in accordance with statutory and regulatory
deadlines. If you are unable to respond completely to every question in the attached
supplemental questionnaire by the established deadline or are unable to provide all requested
supporting documentation by the same date, you must notify the official in charge and submit a
request for an extension of the deadline for all or part of the supplemental questionnaire
response. If you require an extension for only part of your response, such a request should be
submitted separately from the portion of your response filed under the current deadline.
Statements included within a supplemental questionnaire response regarding a respondent’s
ongoing efforts to collect part of the requested information and promises to supply such missing
information when available in the future, do not substitute for a written extension request.
Section 351.302(c) of Commerce’s regulations requires that all extension requests be in writing
and state the reasons for the request. Any factual statements made in support of such reasons
must be accompanied by the certifications required under section 351.303(g) of the regulations.
An extension request submitted without a proper certification for any factual information
contained therein will be considered improperly filed and, as with any other improperly filed
document, will not be accepted. Any extension granted in response to your request will be in
writing; otherwise the original deadline will apply.

If Commerce does not receive either the requested information or a written extension request
before 5 p.m. ET on the established deadline, we may conclude that your company has decided
not to cooperate in this proceeding. Pursuant to 19 CFR 351.302(d), any information submitted
after this date will be untimely filed and may be rejected and removed from the record. In such



       Filed By: Jeffrey Pedersen, Filed Date: 1/6/20 2:38 PM, Submission Status: Approved
               Barcode:3926823-01 A-570-979 REV - Admin Review 12/1/17 - 11/30/18




case, we may rely on facts available, including adverse inferences, as required by section
776(a)(2)(B) of the Tariff Act of 1930, as amended (the Act), in making our determination.
Furthermore, upon receipt of a response that is incomplete or deficient to the extent Commerce
determines it to be non-responsive, Commerce may not issue additional supplemental
questionnaires but may use facts available.

The information you submit may be subject to verification. Failure to allow verification of any
item may affect the consideration that we will accord to that item or to any other material,
whether or not we verify the latter. In all cases where we have requested a re-submission of data,
you should ensure that we receive information in the same format that was requested in the
original questionnaire.

If you have any questions on this matter, please contact Jeff Pedersen at (202) 482-2769 or by e-
mail at Jeffrey.Pedersen@Trade.Gov.




   Enclosure




       Filed By: Jeffrey Pedersen, Filed Date: 1/6/20 2:38 PM, Submission Status: Approved
           Barcode:3926823-01 A-570-979 REV - Admin Review 12/1/17 - 11/30/18




1. The Section D questionnaire requested that you identify the length of time you have been
   purchasing solar cells and/or modules from the supplier. Risen failed to do so. For each
   unaffiliated supplier of solar cells and solar panels, please identify the length of time you
   have been purchasing solar cells and/or panels from the supplier.
2. Please suggest an HTS classification for the following inputs:
       a. Scale Inhibitor
       b. Aluminum Paste
3. You have identified consumption for the following inputs, but Commerce is unable to
   locate a description or a suggested HTS category for each item. Please identify and fully
   describe what each input is and suggest an HTS category or other surrogate value for
   each input.
       a. A_RWALUM
       b. A_WALUM
       c. CB_TCAKE
       d. R_TCAKE
       e. R_TWASTE
       f. R_CWASTE
       g. R_RCWASTE
       h. R_RTWASTE
4. Aluminum Extrusion:
       a. Does your aluminum extrusion have a round cross-section?
       b. Is your aluminum extrusion made of "high-strength heat-treatable alloy," which
           contains by weight 7.0 percent or less of copper or 10.0 percent or less of zinc,
           and/or designated as series 2xxx and 7xxx (except 7072) in the Aluminum
           Association’s specifications of registered alloys?
       c. Is your aluminum extrusion a "high-strength heat-treatable alloy," which contains
           by weight 3.0 percent or less of magnesium and 3.0 or less of silicon, and/or are
           designated as series 6xxx in the Aluminum Association’s specifications of
           registered alloys?
5. Aluminum Frame:
       a. Does your aluminum frame have a round cross-section?
       b. Is your aluminum frame made of "high-strength heat-treatable alloy," which
           contains by weight 7.0 percent or less of copper or 10.0 percent or less of zinc,
           and/or designated as series 2xxx and 7xxx (except 7072) in the Aluminum
           Association’s specifications of registered alloys?
       c. Is your aluminum frame a "high-strength heat-treatable alloy," which contains by
           weight 3.0 percent or less of magnesium and 3.0 or less of silicon, and/or are
           designated as series 6xxx in the Aluminum Association’s specifications of
           registered alloys?
       d. In your previous response, you said that aluminum frame is a further processed
           version of aluminum extrusion in that is cut to length. Are there other ways that
           the aluminum frame is further processed from its aluminum extrusion stage?


   Filed By: Jeffrey Pedersen, Filed Date: 1/6/20 2:38 PM, Submission Status: Approved
            Barcode:3926823-01 A-570-979 REV - Admin Review 12/1/17 - 11/30/18




         e. What use does the aluminum frame serve in the process? Is it used as a support in
             a structure? If so, in what kind of structure, or as what kind of structure is the
             aluminum frame used?
6.   Cable for junction box:
         a. In your previous response to provide dimensions of the cable wire for junction
             box, you responded that it is 12 AWG. In order to calculate the dimensions of the
             cable wire from that information, Commerce used the following chart
             (http://www.ohmslawcalculator.com/awg-wire-chart) to determine that a 12 AWG
             corresponds to 2.0523 mm in diameter. According to this information, a 12 AWG
             wire would NOT fall into either one of the following categories below. Is this
             correct?
                  i. 22 AWG (0.643mm in diameter) and finer but larger than 33 AWG
                     (0.18mm in diameter).
                 ii. 33 AWG (0.18 mm in diameter) and finer
         b. If the calculated diameter length for the cable according to the chart is not
             correct, please provide the correct diameter length for the cable for junction box.
         c. Is your cable for junction box made of winding copper wire?
         d. Is your cable for junction box a coaxial cable or any other coaxial electric
             conductor?
7.   Diode:
         a. Is your diode a zener diode?
         b. Is your diode a microwave diode?
         c. Does your diode have a maximum current of 0.5 A or less?
8.   Flocking Additive:
         a. Is your flocking additive a prepared binder for foundry molds or cores?
         b. Is your flocking additive a chemical product and/or preparation of the chemical or
             allied industries (including those consisting of mixtures of natural products)?
         c. Is your flocking additive composed of non-agglomerated metal carbides mixed
             together or with metallic binders?
         d. Please provide the full chemical contents of your flocking additive in order to
             help classify its HTS.
         e. What is the flocking additive flocking? How is the flocking additive used as a
             surface-active preparation? Please provide full details.
9.   Insulation materials:
         a. Do your insulation materials have polyethylene in its primary form that has a
             specific gravity of more or less than 0.94?
         b. Do your insulation materials have polyethylene in its primary form that has a
             relative viscosity of more or less than 1.44?
         c. Do your insulation materials have polyethylene in its primary form that is linear
             low density polyethylene?
         d. Do your insulation materials have polyethylene in its primary form that is low
             density polyethylene?




     Filed By: Jeffrey Pedersen, Filed Date: 1/6/20 2:38 PM, Submission Status: Approved
           Barcode:3926823-01 A-570-979 REV - Admin Review 12/1/17 - 11/30/18




        e. Do your insulation materials have polyethylene in its primary form that is medium
            density polyethylene?
10. Phosphoric Acid:
        a. Is your phosphoric acid fertilizer grade?
        b. Does your phosphoric acid contain less than 65 percent available diphosphorous
            pentaoxide or its equivalent?
        c. Is your phosphoric acid a polyphosphoric acid?
11. Plaster Base putty:
        a. Is your plaster base putty a mastic?
        b. Does your plaster base putty contain caulking compounds?
        c. Can your plaster base putty be called a painter's filling?
12. Sedimentation agent:
        a. Is your sedimentation agent elastomeric?
        b. Does your sedimentation agent contain monomer units which are aromatic or
            modified aromatic, or which are obtained, derived or manufactured in whole or in
            part therefrom?
        c. Is your sedimentation agent thermoplastic?
        d. Is your sedimentation agent thermosetting?
        e. Does your sedimentation agent contain the following chemical content:
            Poly(nitrilomethanetetraarylnitrilo- [2,4,6-tris-(1-methyethyl)-1,3- phenylene]]-
            2,6-bis(1-methylethyl)- phenyl]-ω-[[[2,6-bis(1-methylethyl)-
            phenyl]amino]methylene]amino carbodiimide or 2,4-diisocyanate-1,3,5-tris(1-
            methyl- ethyl) homopolymer with polyethylene?
        f. Does your sedimentation agent contain the following chemical content: 1,1'-
            Bis(methylenedi-4,1-phenylene)- 1H-pyrrole-2,5-dione, copolymer with 4,4'-
            methylenebis(benzeneamine); and Hydrocarbon novolac cyanate ester?
13. Wire for ingot cutting (Steel-cutting wire):
        a. Is your wire for ingot cutting a silico-manganese steel?
        b. Is your wire a high-speed steel?
        c. Is your steel wire plated or coated with copper?
        d. If your steel wire is a silico-manganese steel, does it contain by weight less than
            0.20 percent of carbon, more than 0.9 percent of manganese, and more than 0.6
            percent of silicon, and suitable for electric arc welding?
        e. If your steel wire is not a silico-manganese steel, does it contain by weight less
            than 0.20 percent of carbon and more than 0.3 percent of nickel or more than 0.08
            percent of molybdenum, and suitable for electric arc welding?
        f. What is the exact diameter of your wire for ingot cutting?




   Filed By: Jeffrey Pedersen, Filed Date: 1/6/20 2:38 PM, Submission Status: Approved
